                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                             5:03CV26-2-V
                           (5:00CR15-01-V)


JOSHUA SHANE DANNER,          )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s “Motion

to Vacate, Set Aside, or Correct” under 28 U.S.C. §2255,” filed

March 3, 2003; and on the “United States’ Response To Petition

And Motion For Summary Judgment,” filed June 9, 2003.            For the

reasons stated herein, the government’s Motion for Summary

Judgment will be granted; and the petitioner’s Motion to Vacate

will be denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on May 2,

2000, a seven-Count Bill of Indictment was filed, charging the

petitioner and others with several offenses, including conspiracy

to possess with intent to distribute of cocaine, cocaine base and

heroin, all in violation of 21 U.S.C. §§841(a)(1) and 846 (Count

One); and with possession with intent to distribute quantities of

cocaine and cocaine base, in violation of 21 U.S.C. §841(a)(1)




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(Count Four).   Neither charge set out specific drug quantities.

     Thereafter, however, on November 6, 2000, a Superceding Bill

of Indictment was filed.     Although such Superceding Indictment

was similar to the first, the second Indictment set forth thresh-

hold drug amounts for each of the allegations.          Such Superceding

Indictment also deleted one charge, and charged the petitioner

with an additional act of possession with intent to distribute

cocaine base (Count Six).     Thus, under the Superceding Indict-

ment, Count One alleged that the conspiracy involved in excess of

1.5 kilograms of cocaine base; less than 50 grams of cocaine

powder; and less than 100 grams of heroin; Count Four alleged the

petitioner’s possession of at least 50 grams of cocaine base and

less than 25 grams of cocaine powder; and Count Six alleged his

possession of less than 50 grams of cocaine base.

     Next, on November 30, 2000, the petitioner entered into a

written Plea Agreement with the government.         By the terms of that

document, the petitioner agreed to voluntarily plead guilty to

the conspiracy charge set forth in Count One of the Superceding

Indictment in exchange for the government’s promise to dismiss

the remaining charges which he was facing.         Further, the Plea

Agreement contained a stipulation that the quantity of cocaine

base which could be attributed to the petitioner for sentencing

purposes was in excess of 1.5 kilograms of cocaine base.             The

petitioner also stipulated to the existence of a sufficient


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factual basis to support his guilty plea.

     In addition, by the terms of the Plea Agreement, the peti-

tioner expressly waived his right to directly appeal his

conviction and/or sentence on any ground; and he waived his right

to collaterally challenge his case, in an action like the instant

one, on any grounds except ineffective assistance of counsel

and/or prosecutorial misconduct.        The petitioner also waived his

right to challenge his Indictment under Apprendi v. New Jersey

530 U.S. 466 (2000).

     On January 8, 2001, this Court conducted a Plea & Rule 11

Hearing in this matter.      On that occasion, the Court engaged the

petitioner in a lengthy colloquy to ensure that his guilty plea

was being intelligently and voluntarily tendered.            In response to

the Court’s numerous questions, the petitioner swore that he had

reviewed a copy of the Superceding Indictment; that he had taken

enough time to discuss his case and possible defenses with his

attorney; that he understood the charge and penalties which he

was facing, particularly as they were explained by both the Court

and his counsel; and that he understood that he could plead “not

guilty” and proceed to trial.

     Equally critical, the petitioner swore that no one had

threatened or coerced him, or otherwise promised him anything in

order to induce his guilty plea; that he was tendering his plea

because he, in fact, was guilty of the subject offense; that he


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had no hesitation about going forward with his guilty plea; that

he had no “lingering questions or statements or comments to make

at that time about anything involving [his] case”; and that he

was “fully satisfied” with his attorney’s services.            Thus, after

hearing the petitioner’s answers to each of its questions, the

Court accepted the petitioner’s guilty plea.

     Next, in March 2001, the Court received a letter from the

petitioner, asking to have his court-appointed attorney replaced

with new counsel.    Such request was premised upon the petition-

er’s assertion that his attorney was “not doing his best to help

[petitioner] out.”    Among other matters, the petitioner complain-

ed that counsel had not tried to get a bond hearing for him, and

counsel had failed to help him schedule a meeting with the inves-

tigating authorities, presumably so that he could begin his

cooperation as contemplated by the Plea Agreement.

     Thus, on March 14, 2001, the Court conducted a proceeding to

inquire into the status of counsel.         After hearing from both the

petitioner and his attorney, the Court granted the petitioner’s

request to have replacement counsel appointed to his case.

Accordingly, on April 9, 2001, replacement counsel was formally

appointed to represent the petitioner.

     At the time that replacement counsel entered the case, the

matter was ripe for sentencing.      However, defense counsel sought

and obtained more than five continuances in order to allow the


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petitioner to fully cooperate with the authorities so that he

could persuade the government to move for a reduced sentence.

     Thus, after his cooperation was complete, on March 4, 2002,

the Court held a Factual Basis & Sentencing Hearing in this

matter.   At that time, the Court determined that the petitioner’s

Total Offense Level was 35, his Criminal History Category was IV,

and his range of exposure was 235 to 293 months imprisonment.

     However, the government made a Motion for a downward depar-

ture under U.S. Sentencing Guidelines §5K1.1 based upon the

petitioner’s substantial assistance.        Specifically, by its

Motion, the government asked the Court to reduce the petitioner’s

sentencing exposure down to a range of 168 to 210 months

imprisonment, and to impose a 175-month sentence.

     Thereafter, defense counsel gave a relatively full history

of the petitioner’s case, explaining that early in his case, the

petitioner had desired to cooperate but his first attorney had

not yet managed to accommodate that desire; that after this new

attorney was appointed to the case, the petitioner’s cooperation

quickly got underway; and that such cooperation actually had led

to the capture of the petitioner’s fugitive brother/co-defendant.

Thus, defense counsel asked for a 120-month sentence for her

client.

     Next, the petitioner spoke in his own behalf, apologizing to

the Court for his behavior, and noting that he had reflected on


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his conduct and would continue to ponder it during his period of

incarceration.   The petitioner also told the Court that he would

not require a 20 to 30-year sentence in order to “learn [his]

lesson” in this case.    Consequently, upon its consideration of

the foregoing matters, the Court granted the government’s Motion

for a Downward Departure, and then departed to offense level 31.

Ultimately, the Court sentenced the petitioner to 151 months

imprisonment.

     At the conclusion of the petitioner’s Hearing, the Court

advised the petitioner that he was entitled to appeal the Court’s

Judgment, and told him how to effectuate such appeal.            The Court

also recommended that if the petitioner desired an appeal, he

should speak with his attorney.      The Court also explained that

the petitioner could discuss with his attorney the impact of his

appellate waivers on the likelihood of success on appeal.             In

response, the petitioner advised the Court that he understood his

appellate rights.

     Thereafter, the petitioner did not file an appeal.            Rather,

on March 3, 2003, the petitioner filed the instant Motion to

Vacate, raising several challenges, including that his guilty

plea was involuntarily and unintelligently tendered; that he is

actually innocent of the offense for which he has been convicted;

that he was sentenced in violation of Apprendi and its progeny;

and that he was subjected to numerous instances of ineffective


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assistance by his first attorney.

     After conducting an initial review of the petitioner’s

Motion to Vacate, the Court formed the impression that all but

the petitioner’s claims against counsel likely were subject to

summary dismissal.    Nevertheless, the Court directed the

government to respond to all of the petitioner’s claims.

     To that end, on June 9, 2003, the “United States’ Response

To Petition And Motion For Summary Judgment” was filed.            Not

surprisingly, by that document, the government argues that the

petitioner’s non-counsel related claims are subject to summary

dismissal under the waiver provision of his Plea Agreement and by

virtue of the petitioner’s guilty plea itself.          As for his claims

against counsel, the government further argues that even those

matters are subject to dismissal because they either are based

upon factually erroneous contentions, they are contradicted by

his sworn assertions, and/or the petitioner cannot demonstrate

any prejudice as a result of counsel’s conduct.

     On July 2, 2003, the petitioner’s “Response In Opposition To

Government’s Motion For Summary Judgment” was filed.            Such

document essentially reiterates the claims which were made in the

petitioner’s Motion to Vacate.

     Now, the Court has carefully reviewed these matters and

determined, for the reasons set forth in the government’s

Response, and for the further reasons stated herein, that the


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petitioner’s Motion to Vacate must be denied and dismissed.




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                             II.   ANALYSIS

          1.   The record conclusively establishes that
               the provisions of the petitioner’s Plea
               Agreement and its terms are valid and
               fully enforceable.

     At the outset of its analysis, the Court will first put to

rest the petitioner’s claim that his Plea Agreement and the

waiver provisions set forth therein are unenforceable because

they were involuntarily and unknowingly tendered.            In support of

this contention, the petitioner claims that his first attorney

failed to adequately explain certain matters to him, and that he

did not want to plead guilty in this case due to his supposed

“actual innocence.”    However, contrary to these allegations, the

record in this case is replete with evidence of an intelligent

and voluntary guilty plea, a valid and fully enforceable Plea

Agreement, and the petitioner’s guilt.

     Indeed, turning first to the Plea Agreement, as has been

noted, that document sets forth the petitioner’s promise to plead

guilty to the conspiracy charge.        Such document also contains the

petitioner’s stipulation that he could be sentenced on the basis

of in excess of 1.5 kilograms of crack, along with his waiver of

his right to collaterally challenge any matters except counsel’s

effectiveness and the government’s conduct.         Notwithstanding the

petitioner’s alleged problems with his first attorney, the

petitioner signed the Agreement and, even after replacement

counsel was appointed, he never sought to attack that Plea

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Agreement in Court–-at least not until now.

     Furthermore, during the petitioner’s Plea & Rule 11 pro-

ceeding, he was fully advised of all of the relevant circum-

stances, including the elements which the government would have

had to prove in order to obtain a conviction at trial.            Without

hesitation, the petitioner swore to the Court that he and counsel

had fully discussed his case and possible defenses; that he

understood the circumstances he was facing; that he had not been

forced or otherwise inappropriately induced to plead guilty; that

he was, in fact, guilty of the subject charge; and that he

understood and agreed with the terms of his Plea Agreement.

Notwithstanding those facts, the petitioner has come forward with

these conclusory allegations in an attempt to circumvent the

effects of his Plea Agreement and guilty plea.

     However, in cases such as this, the law is well settled that

once the trial court conducts a Rule 11 colloquy, such as the one

outlined above, and finds the plea to have been knowingly and

voluntarily entered and the terms to have been understood and

accepted by the parties, absent compelling reasons to the

contrary, the validity of the plea, its terms and the defendant’s

corresponding guilt are deemed to be conclusively established.

Via v. Superintendent, Powhatan Correctional Center, 643 F.2d 167

(4th Cir. 1981).   Accord Blackledge v. Allison, 431 U.S. 63, 73-

74 (1977) (defendant’s plea and statements at Rule 11 proceedings


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“constitute a formidable barrier” to their subsequent attack).

Statements made during Rule 11 proceedings constitute strong

evidence of the voluntariness of a defendant’s plea.           United

States v. DeFusco, 949 F.2d 114, 119 (4th Cir. 1991).

     Moreover, the Fourth Circuit has indicated that where, such

as here, the plea bargain was “favorable” to a defendant and that

accepting it was “a reasonable and prudent decision,” such

factors are themselves evidence of “[t]he voluntary and intel-

ligent” nature of the plea.     Fields v. Attorney Gen. Of Md., 956

F.2d 1290, 1299 (4th Cir 1992).

     Based upon the foregoing information--and despite the fact

that the petitioner has defaulted this claim by his failure to

raise it on direct appeal--the Court finds that the petitioner

has failed to set forth a basis upon which the Court can invali-

ate his guilty plea, his Agreement or any provision therein.

Therefore, the petitioner’s waiver provisions are valid and fully

enforceable against all of the instant allegations, except the

ones claiming ineffective assistance of counsel.

          2.   Moreover the petitioner’s non-counsel re-
               lated claims would be subject to dismissal
               as procedurally defaulted in any event.


     In addition, the Court finds that the subject claims have

been defaulted; therefore, the same are subject to summary

dismissal on that basis.     That is, as has been noted, the

petitioner did not appeal either his conviction or sentence.

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Therefore, all of his allegations, save his claim against

counsel, are not cognizable by this Court.

     To be sure, in United States v. Mikalajunas, 186 F.3d 490,

492-93 (4th Cir. 1999), cert. denied, 120 S.Ct. 1283 (2000), the

Court pointed out that “[i]n order to collaterally attack a

conviction or sentence based upon errors that could have been but

were not pursued on direct appeal, the movant must show cause and

actual prejudice resulting from the errors of which he com-

plains[,] or he must demonstrate that a miscarriage of justice

would result from the refusal of the court to entertain the

collateral attack.”    Id., citing United States v. Frady, 456 U.S.

152 (1982); see also Bousley v. United States, 523 U.S. 614, 621

(1998) (failure to challenge a matter on direct appeal, absent

certain compelling circumstances, bars collateral review of

same); and Stone v. Powell, 428 U.S. 465, 477 n.10 (1976).

     In this case, the record reflects that the petitioner failed

to appeal the matters he now seeks to raise and, with the excep-

tion of his belated and sharply contradicted claim of actual

innocence, he has even failed to offer a basis for excusing this

default.   Therefore, even in the absence of his waiver of those

matters, the Court also lacks the authority to review the

petitioner’s non-counsel related claims due to his default of

them.




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          3.   Notwithstanding both of the foregoing
               barriers, the petitioner’s non-counsel
               related claims are meritless.

     In his Motion to Vacate, the petitioner is complaining about

a number of matters.    However, as the government has correctly

pointed out, such claims all are either factually baseless,

legally baseless or both.

     Indeed, contrary to his numerous assertions, the petition-

er’s total, unadjusted sentencing range properly was calculated

on the basis of his admitted involvement with in excess of 1.5

kilograms of crack cocaine, not heroin or powder cocaine.

Therefore, since the conduct of the petitioner and his co-

defendants as described in the “Offense Conduct” portion of his

Pre-Sentence Investigation Report support both his stipulation

and the Court’s finding, this claim is without merit.

     Similarly, the record reflects that the petitioner pled

guilty to a charge which specified drug amounts.             The record also

shows that the petitioner stipulated to involvement with a

particular amount and type of drug; and that there was neither a

jury trial or verdict in this case.        Accordingly, the petition-

er’s arguments under Apprendi v. New Jersey, 466 U.S. 530 (2000)

and United States v. Rhynes, 196 F.3d 207, 237 (4th Cir. 1999),

vacated in part on rehearing en banc, 218 F.3d 310 (4th Cir.

2000), are feckless.

     The petitioner’s argument that this Court somehow misled him


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into believing that he faced a life sentence is equally baseless

in that the petitioner actually was facing a statutory maximum

term of life imprisonment in the absence of any favorable

reductions.      Thus, the penalty information which the Court gave

the petitioner during his Plea Hearing was correct.

     Moreover, regarding his claim about not being given the

“opportunity to withdraw” his guilty plea, the record shows that

petitioner appeared before the Court at least three times after

he had entered his plea, yet he never sought to withdraw that

plea for any reason.     Indeed, even now the petitioner does not

claim that he would have withdrawn his guilty plea had he been

given the opportunity to do so.      Thus, the petitioner’s allega-

tion that the Court failed to afford him this opportunity is

baseless.

     Last, the petitioner’s claim of actual innocence–-which he

bases on his assertion that there simply was no conspiracy–-is

unquestionably meritless and entirely contradicted by this record

which includes his sworn admission to the contrary.            Therefore,

even if the petitioner’s non-counsel related claims were not

subject to summary dismissal, he still could not have obtained

any relief on them because they each lack merit.

            4.   The petitioner has failed to state a claim
                 for relief against counsel.


     Turning to the petitioner’s claims against counsel, the


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Court’s review has revealed that these allegations are specious;

therefore, they also will be dismissed.

     With respect to claims of ineffective assistance of counsel,

a petitioner must show that counsel's performance was constitu-

tionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby.

Strickland v. Washington, 466 U.S. 668, 687-91 (1984).            In making

this determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Under these circumstances, the petitioner “bears the burden

of proving Strickland prejudice.”       Fields, 956 F.2d at 1297,

citing Hutchins, 724 F.2d at 1430-31.       If the petitioner fails to

meet this burden, a “reviewing court need not consider the per-

formance prong.”   Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Furthermore, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the


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outcome of the proceeding would have been different.            Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).   Rather, the Court “can only grant relief under

. . . Strickland if the ‘result of the proceeding was fundamen-

tally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell,

506 U.S. 364, 369 (1993).

     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.     See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845

F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                 The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective

assistance, statements previously made under oath affirming

satisfaction with counsel are deemed binding in the absence of

“clear and convincing evidence to the contrary.”            Fields, 956

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F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75

(1977).

     Here, the petitioner has set forth a number of allegations

against his first attorney, but has not complained about the

performance of his second one.     Nevertheless, to the extent that

the petitioner’s claims against that first attorney are based

upon some of the allegations which the Court previously has

addressed--such as, counsel’s supposed ineffectiveness for

allowing him to be sentenced for involvement with heroin, for

failing to ensure that the correct drug quantity was used in the

Court’s calculations, for failing to attack the “defective

Indictment and Plea Agreement,” and for coercing the petitioner

into tendering an unintelligent, involuntary guilty plea–-the

Court already has put those matters to rest.         Suffice it to say,

therefore, those claims cannot possibly provide a basis for

relief on this Motion.

     Alternatively, to the extent that the petitioner’s claims

against his former attorney are based upon allegations that

counsel visited him “infrequently,” he did not adequately inves-

tigate this case, and he did not request a bond hearing for the

petitioner, such claims also must fail.       To put it simply, in

light of the fact that all of these alleged “failures” preceded

the petitioner’s entry of his guilty plea and his making of sworn

declarations that counsel had been adequate and he was satisfied


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with counsel’s services, the petitioner cannot now be heard to

complain about those matters.

     Rather, it is well settled that “a guilty plea constitutes a

waiver of all non-jurisdictional defects, including the right to

contest the factual merits of the charges.        United States v.

Willis, 992 F.2d 489, 490 (4th Cir. 1993)(internal quotations and

citations omitted); accord Tollett v. Henderson, 411 U.S. 258

(1973) (defendant who pleads guilty may not challenge non-

jurisdictional errors, including deprivations of constitutional

rights that occurred prior to plea).        Thus, these claims must be

flatly rejected.

     More significantly, it has not escaped the Court’s atten-

tion that the petitioner has wholly failed to demonstrate any

prejudice as a result of his former attorney’s alleged ineffec-

tiveness.   On the contrary, the record conclusively shows that

although the petitioner was facing a statutory maximum of life

imprisonment and a Sentencing Guidelines range of 235 to 293

months imprisonment, due to the assistance provided by both of

his attorneys, the petitioner ultimately received a reduced

sentence of 151 months.     Thus, on this record, the petitioner

simply cannot demonstrate that the results of his proceedings

were fundamentally unfair or unreliable.        Therefore, all of the

petitioner’s claims against counsel have failed.

                            III.   CONCLUSION


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     The record of this matter reflects that the petitioner has

waived and procedurally defaulted all of his claims, except the

ones against his first attorney.        As to the latter, the peti-

tioner also has failed to demonstrate an entitlement to relief.

Therefore, the government’s Motion for Summary Judgment will be

granted; and the petitioner’s Motion to Vacate will be denied and

dismissed.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the government’s Motion for Summary Judgment is

GRANTED; and

     2.   That the petitioner’s Motion to Vacate is DENIED and

DISMISSED.

     SO ORDERED.




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                     Signed: June 2, 2005




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